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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   AUTOSOFT, INC., a Pennsylvania                    No. 1:16-cv-00826-LJO-SKO
     Corporation,
12
            Plaintiff and Counterclaim
13                                                     ORDER DIRECTING THE CLERK OF THE
            Defendant,                                 COURT TO CLOSE THE CASE
14
     vs.                                               (Doc. No. 24)
15
     AUTOSOFT NET, INC., a California
16   Corporation,
17
             Defendant and Counterclaim
18           Plaintiff.
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20          On February 24, 2017, the parties filed a “Rule 41 Dismissal of Complaint of Autosoft,
21   Inc. and Dismissal of Counterclaims of Autosoft Net.” (Doc. No. 24.) In light of the parties’
22   stipulation, this action has been terminated, see Fed. R. Civ. P. 41(a)(1)(A)(ii); Wilson v. City of
23   San Jose, 111 F.3d 688, 692 (9th Cir. 1997), and has been dismissed with prejudice.
24          Furthermore, the Court entered an “Order Sealing Document Pursuant to Local Rule 141,”
25   sealing the 9-page Confidential Settlement Agreement entered into between the parties on
26   February 8, 2016. (Doc. 23.) Such sealing order SHALL REMAIN IN EFFECT until February
27   23, 2022, and this Court SHALL RETAIN JURISDICTION to enforce the Confidential
28
     Case 1:16-cv-00826-LJO-SKO Document 27 Filed 03/03/17 Page 2 of 2

 1   Settlement Agreement until that date.

 2            Finally, the Clerk of the Court is DIRECTED to close this case.

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     IT IS SO ORDERED.
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 5   Dated:     March 3, 2017                                    /s/   Sheila K. Oberto    .
                                                          UNITED STATES MAGISTRATE JUDGE
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